Case 17-12167   Doc 127   Filed 05/08/18 Entered 05/09/18 16:12:58   Desc Main
                           Document     Page 1 of 6
Case 17-12167   Doc 127   Filed 05/08/18 Entered 05/09/18 16:12:58   Desc Main
                           Document     Page 2 of 6
Case 17-12167   Doc 127   Filed 05/08/18 Entered 05/09/18 16:12:58   Desc Main
                           Document     Page 3 of 6
Case 17-12167   Doc 127   Filed 05/08/18 Entered 05/09/18 16:12:58   Desc Main
                           Document     Page 4 of 6
Case 17-12167   Doc 127   Filed 05/08/18 Entered 05/09/18 16:12:58   Desc Main
                           Document     Page 5 of 6
Case 17-12167   Doc 127   Filed 05/08/18 Entered 05/09/18 16:12:58   Desc Main
                           Document     Page 6 of 6
